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                         UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

                                  CASE NO.: 21-CV-60168-RKA

  MARK MESSINA and
  BERNARD MCDONALD,

         Plaintiff,
  vs.

  CITY OF FORT LAUDERDALE,
  FLORIDA, a Florida municipal corporation,

         Defendant.
                                                      /


          DEFENDANT CITY’S SUPPLEMENTAL RESPONSE TO PLAINTIFF’S
                  MOTION FOR PRELIMINARY INJUNCTION

         The Defendant City of Fort Lauderdale (“City”), by and through its undersigned

  attorneys and pursuant to the Court’s order (DE 30 at p. 1)submits its supplemental response to

  Plaintiff’s Motion for Preliminary Injunction (DE 5) and states as follows:

                      §25-267 is a Valid Content Neutral Time Place Manner
                                Restriction on Commercial Speech

         Plaintiff’s Supplemental Memorandum concedes that at least a portion of §25-267 is a

  content neutral restriction subject to intermediate scrutiny (DE 32 at p.2). In prohibiting persons

  from handing or attempting to hand or receive anything from the occupants of a motor vehicle

  engaged in traffic on certain designated roadway segments, the City does not impose any

  restriction on speech based upon its content and its incidental impact on speech should be

  reviewed pursuant to the intermediate scrutiny standard.        Under this standard, the subject

  regulation is constitutional where it is narrowly tailored to further a significant government

  interest and leaves open ample alternative channels of communication. Smith v. City of Fort
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  Lauderdale, 177 F.3d 954, 956 (11th Cir. 1999).

         Plaintiff’s supplemental memorandum does not assert that the regulation fails to further a

  significant government interest, or that often ample alternative channels of communication do

  not exist. Instead, Plaintiff's make the singular argument that the regulation is not narrowly

  tailored to further the government’s interest and that the City could have used less restrictive

  means to accomplish its goals. Plaintiff’s base this argument on the erroneous premise that

  “[t]he provision bans all roadside exchanges in Fort Lauderdale on all roadways with a

  functional classification of arterial, regardless of whether the interactions either cause safety

  issues or obstruct traffic.” (DE 32 at p. 3) Contrary to Plaintiff’s assertion, the right-of-way

  solicitor prohibition contained in §25-267 do not apply to all arterial roadways within the City,

  and instead is limited to those arterial roadways which are over capacity and have a level of

  service (LOS) classification of D, E or F. The designated roadways are depicted on a color

  coded map which is attached to the ordinance. (DE 5-3) Plaintiff’s supplemental memorandum

  mischaracterizes the scope of the restriction.

         As set forth in the ordinance (DE 5-3) which established §25-267, the regulation seeks to

  further the City’s interest in traffic safety, including the safety of pedestrians and motorists using

  the designated roadways, and preventing delays and interference with the flow of traffic on the

  roadway segments. The regulation is limited to roadways which are large in size (arterials) and

  which are heavily travelled and operating beyond their capacity. (LOS D, E and F). The

  regulation operates under the premise that the City’s interests can best be served by applying the

  solicitor prohibition to arterial roadways which have numerous lanes for vehicular traffic (some

  cases 10 or more lanes), and which are heavily travelled (LOS D, E and F), thereby making the


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  roadway segments more dangerous to pedestrians and motorists alike. Similarly, prohibiting

  solicitors from interacting with motorists engaged in travel, either from a median, sidewalk or the

  roadway itself, furthers the City’s interest in trying to maintain or improve traffic flow on these

  overcapacity and heavily travelled roadway segments. Finally, in limiting the regulation to the

  overcapacity arterial roadway segments, all non-arterial City roadways and all arterial roadway

  segments which are not over capacity (LOS A, B or C) are available for use by solicitors who

  seek to receive or exchange things with the occupants of motor vehicles engaged in traffic.

         The City of Fort Lauderdale has approximately 500 miles of streets and approximately

  325 miles of sidewalk. See City of Fort Lauderdale Complete Streets Manual at page 6. As

  depicted on the color coded map which is part of the record (DE 5-3), All of the yellow colored

  arterial roadways depicted on the map operate at a LOS C and are not subject to the prohibitions

  set forth in Section 25-267. Similarly, all of the other non-arterial roadways of the City are not

  subject to the prohibition. Instead, the prohibitions of §25-267 are limited to all of interstate 95

  and portions of Commercial Boulevard, Oakland Park Boulevard, Sunrise Boulevard, Andrews

  Avenue, Broward Boulevard, Las Olas Boulevard, S.E. 17th Street and State Road 84.

         The provision at issue in this case was analyzed and upheld in Cosac Foundation, Inc. v.

  City of Pembroke Pines, 2013 WL 5345817 (S.D. Fla. 2013). In Cosac, the court rejected the

  argument that an identical regulation which applied to six roadways within the City of Pembroke

  Pines was not narrowly tailored and stated:

                 The City made what the Court finds was a reasoned determination
                 that canvassing and soliciting on these few roadways creates a
                 significant risk of traffic flow problems and accidents. Without
                 second-guessing that judgment, which lies well within the City's
                 discretion, the Court cannot conclude that banning canvassing and
                 soliciting on the six roadways burdens substantially more speech

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                 than is necessary to further the government's legitimate interest.
                 *19. (internal quotes and citations omitted).


  As set forth by Judge Marcus in Pine v. City of West Palm Beach, 762 F.3d 1262, 1270 (11th Cir.

  2014):


                  Since Ward, however, the Supreme Court has applied a less
                  strenuous test: “So long as the means chosen are not substantially
                  broader than necessary to achieve the government's interest,…
                  the regulation will not be invalid simply because a court
                  concludes that the government's interest could be adequately
                  served by some less-speech-restrictive alternative.” 491 U.S. at
                  800, 109 S.Ct. 2746. Indeed, in its recent decision in McCullen,
                  the Supreme Court applied the Ward standard by asking whether a
                  regulation was substantially more burdensome than necessary.
                  See McCullen, 134 S.Ct. at 2537.


  Plaintiff’s supplemental memorandum essentially argues that §25-267 should be limited to

  instances where a solicitor enters a roadway and physically prevents traffic from moving. (DE 32

  at p.5). However, the presence of solicitors interacting with and attempting to interact with

  motorists engaged in travel impairs the free flow of traffic and creates safety problems for

  pedestrians and motorists alike. For example, a passing motorist may stop their vehicle in order

  to exchange something with a solicitor who is standing on the median or sidewalk or be

  distracted by the solicitor’s attempted interaction, thereby leading to a traffic accident or the

  solicitor may lose their footing because of the attempted interaction and cause an accident or

  sustain injuries themselves.




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                          §25-267 is Not a Content Based Regulation on Speech

             Plaintiff incorrectly argues that the sale, donation and advertising sections of the

  ordinance are not content based and should be subjected to an intermediate scrutiny standard of

  review.1 Properly construed, §25-267(a) defines as a prohibited solicitor someone who seeks to

  sell, obtain a donation, or advertise the sale of any thing or service “to any person who operates

  or occupies a motor vehicle or any kind, which vehicle is engaged in travel on or within any

  portion of the streets or roadways in the City, whether or not such vehicle is temporarily stopped

  in the travel lanes of the road.” (DE 5-3 at p.3). Rather than being content based, the provisions

  are all encompassing and attempt to delineate all manner of interactions between pedestrian

  solicitors and the drivers and occupants of motor vehicles engaged in traffic. As set forth in

  Plaintiff’s supplemental memorandum “implicit in plaintiff’s allegations concerning their

  panhandling activities is that they receive donations by hand….” (DE 32 at p.3). Implicit in

  §25-267 is that the pedestrian solicitor is attempting to sell something to the occupant of a motor

  vehicle, obtain a donation from the occupant of a motor vehicle and/or exchange anything else

  (leaflet, advertising, etc.) by hand with the driver or occupant of a motor vehicle engaged in

  traffic.

             As previously set forth, § 25-267 is identical to the regulation upheld in the Cosac

  Foundation, Inc. v. City of Pembroke Pines, supra. The regulation attempts to identify every

  means of interaction between the pedestrian solicitor and the occupants of motor vehicles


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    Throughout Plaintiff’s supplemental memorandum they state that the Court should enter a declaration that all or
  portions of §25-267 are unconstitutional and that the Court should declare the ordinance unconstitutional. See DE 32
  at p.5, 7 and 9. A motion for summary judgment or a motion for judgment on the pleadings has not been filed and
  instead the motion before the Court is Plaintiff’s Motion for Preliminary Injunction. The Defendant City
  respectfully submits that the Court should not at this stage of the litigation declare that any City ordinance is
  unconstitutional. Instead, the issue is whether the Court will as a preliminary matter enjoin the enforcement of
  some or all of the challenged regulations.
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  engaged in travel, whether it involve the sale of merchandise or services, the seeking of

  donations or the exchange of leaflets or advertising. Indeed, the regulation is the antithesis of a

  content based restriction in that it attempts to prohibit every kind of interaction between

  pedestrian solicitors and the occupants of motor vehicles engaged in travel at the largest and

  most overburdened roadway segments within the City in an effort to further pedestrian and

  traffic safety and prevent interruptions in the traffic flow of these already overburdened

  roadways. They are narrowly tailored to address the government interests at hand and leave

  open hundreds of miles of roadways wherein pedestrian solicitors can sell, beg and exchange

  items with the occupants of passing motor vehicles.

                                      Application of §25-267(d)

          As set forth at the recent hearing, §25-267(d) prohibits signage only where the signage

  fails to confirm to the requirements of the City’s sign code. Since the sign code deals almost

  exclusively with signage on private property that can be viewed from the public right of ways, it

  is difficult to conjure a scenario in which the provision would have any application to the

  Plaintiffs or other pedestrian solicitors who may be carrying a sign to facilitate their activities.

  The undersigned counsel is still attempting to obtain authorization to the City to present

  something to the Plaintiff’s and the Court which would address the concerns that Plaintiffs have

  raised regarding notices to appear or citations which have apparently been issued to other

  persons. The undersigned expects to be in a position to accomplish this by Friday, April 30,

  2021.

          Plaintiff’s Supplemental Memorandum raises one subsection of the City’s sign code to

  wit Section 47-22.6(A) which provides that a sign, device, seating arrangement, structure, or


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  movable object shall not create a traffic or fire hazard or be dangerous to or interfere with the

  free use of public streets or sidewalks. None of the reports which involve the arrest or citations

  given to persons other than the Plaintiff cite this section of the City’s sign code. The provision

  has never been applied to the Plaintiffs and it is submitted that this Court’s subject matter

  jurisdiction does not extend to the speculative academic exercise that Plaintiffs request. The

  Defendant City will supplement this memorandum with a filing on Friday, April 30, 2021 to

  advise the Court of the undersigned’s efforts to eliminate by agreement this issue from the

  Court’s consideration.



  Dated: April 28, 2021

                                                      Respectfully submitted,


                                                      /s/Michael T. Burke
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 28th day of April, 2021, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing
  document is being served this day on all counsel of records or pro se parties identified on the
  attached Service List in the manner specified, either via transmission of Notice of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties
  who are not authorized to receive electronically or in some other authorized manner for those
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